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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA


JAMES LEGROS, SR.; and                          )
JACQUELINE MILIOTO, as next friend to           )
D.M., a minor, as next of kin of                )
JAMES LEGROS, JR., deceased,                    )
                                                )
               Plaintiffs,                      )
                                                )
v.                                              )          Case No. 18-CV-261-RAW
                                                )
BOARD OF COUNTY COMMISSIONERS                   )
FOR CHOCTAW COUNTY, et al.,                     )
                                                )
               Defendants.                      )


           DEFENDANTS’ JOINT MOTION TO WITHDRAW OBJECTION TO
                 PLAINTIFFS’ MOTION FOR LEAVE TO AMEND

       COME NOW Defendants Board of County Commissioners for Choctaw County; Terry

Park, in his individual and official capacities; Edna Casey, in her individual and official

capacities; Schonna Smith, in her individual capacity; Jeffrey Epley, in his individual capacity;

Stewart Stanfield, in his individual capacity; Zach Dillishaw, in his individual capacity; and

Debora Clay, in her individual capacity, jointly, and hereby request this Court enter an order

allowing them to withdraw their objection to Plaintiffs’ Motion for Leave to File Second

Amended Complaint to Substitute James Legros, Sr. as Personal Representative of the Estate of

James Legros, Jr., as a Plaintiff. (Doc. 104). In support hereof, Defendants show the Court as

follows:

       On August 29, 2019, Plaintiffs filed their Motion for Leave to File Second Amended

Complaint to Substitute James Legros, Sr. as Personal Representative of the Estate of James

Legros, Jr., as a Plaintiff (Doc. 104), to which all Defendants objected. Since that time, the

parties have engaged in meaningful settlement negotiations and an agreement has been reached.
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Defendants respectfully wish to withdraw their objection to Plaintiffs’ Motion for Leave to File

Second Amended Complaint and to allow Plaintiffs to substitute James Legros Sr., as Personal

Representative of the Estate of James Legros, Jr., as the sole Plaintiff in order to facilitate the

settlement agreement among the parties.

       Plaintiffs do not object to Defendants’ withdrawal of their objection. As discussed herein,

the parties have reached a settlement agreement; thus, this withdrawal will not impact any

deadlines or the scheduled trial. A proposed Order granting same is submitted

contemporaneously herewith.

       WHEREFORE, premises considered, Defendants respectfully request this Court enter an

Order allowing the Defendants to withdraw their objection to Plaintiffs’ Motion for Leave to File

Second Amended Complaint and allow Plaintiffs to substitute James Legros, Sr. as Personal

Representative of the Estate of James Legros, Jr., as the Plaintiff in this matter.




                                                       Respectfully submitted,

                                                        s/ Jessica L. Dark
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                                                       Randall J. Wood, OBA No. 10531
                                                       Jessica L. Dark, OBA No. 31236
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                                                     s/ Stephen L. Geries
                                                    (signed with permission by filing attorney)
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                                                    Attorneys for Defendants BOCC for
                                                    Choctaw County, Park, Dillishaw,
                                                    Epley, and Stanfield


                                                     s/ James L. Gibbs, II
                                                    (signed with permission by filing attorney)
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                                                    Attorneys for Defendant Edna Casey



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 9th of September, 2019, I electronically transmitted the above
and foregoing document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

       Chris Hammons                             Stephen L. Geries
       Jason M. Hicks                            Taylor M. Tyler
       Attorneys for Plaintiffs                  Attorneys for Defendants
                                                 BOCC, Zachary Dillishaw, Terry Park,
       James L. Gibbs, II                        Jeffrey Epley and Stewart Stanfield
       Elise M. Horne
       Attorneys for Defendant, Edna Casey



                                                     s/ Jessica L. Dark
                                                    Jessica L. Dark

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